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      Case: 1:20-cr-00442 Document #: 10 Filed: 08/27/20 Page 1 of 2 PageID #:44
                                                                   A    FILED
                                                                             AUG   2 7 2020
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS               THOMAS G, BBUTON
                                EASTERN DIVISION                    oIERK, U.S. DISTRICT CoURT

 UMTED STATES OF AMERICA
                                              No. 20 CR 442
                 v.
                                              Tit1e 21, United States Code, Section
 DION LUSTER                                  8a1(a)(1)                 sUUuL nLUi[$tJ
                                                                MAGISTRATE JUDGE KIM

        The SPECIAL JANUARY 2020 GRAND JURY charges:

        1.      On or about July 30, 2020, at Chicago, in the Northern District of

Illinois, Eastern Division,

                                       DION LUSTER,

defendant herein, did knowingly and intentionally distribute a controlled substance,

namely, a mixture and" substance containing a detectable amount of heroin, a

Schedule     I Controlled Substance;
          In violation of Title 21, United States Code, Section 841(a)(1).

        2.      Before DION LUSTER committed the offense charged             in this   count,

DION LUSTER had a fi.nal conviction for a serious drug felony, namely, a conviction

in   Case No. 03CRL2526LL (Circuit Court of Cook County, Illinois), for calculated

criminal drug conspiracy, in violation of 720ILCS 5701405, for which he served more

than 12 months'imprisonment and for which he was released from serving any term

of imprisonment related to that offense within 15 years of the commencement of the

instant offense.
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                                       A TRUE BILL:


                                       FOREPERSON



signed by Timothy J. Storino on behalf of the
United States Attorney
